     Case 5:15-cv-00057 Document 8 Filed in TXSD on 05/27/15 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS


Adrian Tello, et al.

v.                                                   Case No.: 5:15−cv−00057

ASI Lloyds, et al.



                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
J. Scott Hacker
PLACE:
by telephone
United States District Court
1300 Victoria St
Laredo, TX
DATE: 6/3/2015
TIME: 10:45 AM

TYPE OF PROCEEDING: Scheduling Conference


Date: May 27, 2015
                                                       David J. Bradley, Clerk
